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                            UNITED STATE DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA

 LASHAWN JONES, ET AL.                                CIVIL ACTION NO. 12-859

 VERSUS                                               SECTION I, DIVISION 5

 MARLIN GUSMAN, ET AL.                                JUDGE LANCE M. AFRICK
                                                      MAGISTRATE JUDGE NORTH



                                     NOTICE OF APPEAL


        Pursuant to 28 U.S.C. § 2107(b) and Federal Rules of Appellate Procedure 3 and 4, Third-

Party Defendant, the City of New Orleans, hereby appeals the District Court’s Order & Reasons

(Rec. Doc. 1396) approving the Magistrate Judge’s Report & Recommendation (Rec. Doc. 1385),

denying the City of New Orleans’ Motion for Relief from Court Orders of January 25, 2019 and

March 18, 2019 (Rec. Doc. 1281) to the United States Court of Appeals for the Fifth Circuit. A

denial of a Rule 60(b) motion is itself an appealable order. See Browder v. Dir., Dep’t of Corr. of

Ill., 434 U.S. 257, 263 n.7 (1978); Acadian Diagnostic Laboratories, L.L.C v. Quality Toxicology,

L.L.C., 965 F.3d 404, 414 (5th Cir. 2020).




                                              Respectfully submitted,

                                               BY:    /s/ Sunni J. LeBeouf
                                                     SUNNI J. LEBEOUF (Bar #28633)
                                                     CITY ATTORNEY
                                                     Email: Sunni.LeBeouf@nola.gov
                                                     DONESIA D. TURNER (Bar #23338)
                                                     Email: Donesia.Turner@nola.gov
                                                     CHURITA H. HANSELL (Bar #25694)
                                                     Email: chhansell@nola.gov
                                                     1300 PERDIDO STREET


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                                                      CITY HALL – ROOM 5E03
                                                      NEW ORLEANS, LOUISIANA 70112
                                                      TELEPHONE: (504) 658-9800
                                                      FACSIMILE: (504) 658-9868

                                                      /s/ Harry Rosenberg
                                                      HARRY ROSENBERG (#11465)
                                                      PHELPS DUNBAR LLP
                                                      365 CANAL STREET, SUITE 2000
                                                      NEW ORLEANS, LA 70130
                                                      TELEPHONE: 504-566-1311
                                                      FACSIMILE: 504-568-9130
                                                      Email: Harry.Rosenberg@Phelps.com

                                                      COUNSEL FOR:
                                                      THE CITY OF NEW ORLEANS



                                 CERTIFICATE OF SERVICE

        This is to certify that a copy of the foregoing was filed on this 2nd day of February, 2021,

with the Clerk of Court by using the CM/ECF system, which will send a notice of electronic filing

to all participating counsel of record.



                                                               /s/ Sunni LeBeouf
                                                               Sunni J. LeBeouf




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